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                                   DISTRICT OF OREGON
                                   PORTLAND DIVISION

OLIVIA TYLER-BENNETT,                           Case No. 3:16-cv-02300
                      Plaintiff,
                                                       NOTICE OF ASSOCIATION OF
       v.                                                              COUNSEL
THE UNITED STATES OF AMERICA,
                      Defendant.


TO:   Defendants and their attorneys


      Please be advised that plaintiff has associated counsel as follows:
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